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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA

v.                                           Case Number: 4:21−cr−00204

Lee Ray Boykin, Jr




                               NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Andrew M Edison
PLACE:
by video
United States District Court
515 Rusk Avenue
Houston, Texas 77002
DATE: 6/9/2022
TIME: 02:00 PM

TYPE OF PROCEEDING: Arraignment


Date: June 2, 2022
                                                        Nathan Ochsner, Clerk
